Case 1:17-cv-23938-JLK Document 63 Entered on FLSD Docket 01/23/2019 Page 1 of 2




                           UN ITED STA TES D ISTR ICT C O U R T
                           SO UT H ERN D ISTR ICT O F FLO RIDA

                         CASE NO,17-23938-C1V-K1NG/S1M ON1-ON

  AN DRES FELIPE A RIA S LEIV A ,

        Petitioner,



  ROBERT W ILSON asActing W arden,
  FederalDetention Center,M iam i,Florida,eta1.,

        Respondents.



            O RDER DENYING M O TIO N FOR RECO NSIDERATION OF BAIL

         Petitioner,AndresFelipeAriasLeiva,soughtexpedited consideration ofa M otion f0r

   Bail(DE 49),filedonDecember13,20l8,withtheClerkofCourt.Attherequestofthe
   parties,the Courtheld ahearing fnn themotion on January 10,2019.The Courthad reopened

   thecaseforthelimitedpum oseof'tpresentation of(evidencej''ofchanged circumstances
   relevantto theissueofwhetherPetitionerisaflightrisk,asM agistrateJudge Sim onton had

   found onAugust27,2017 (DE 31),andtheCourtaffinnedon October5,2018(DE 38).

         Upon carefulreview ofthe motion,theofficialdocketsheetretlecting theprocedural

   process,hearingsand ordersentered in theabove-styled caseto date,and evidence introduced

   atthehearing,and being otherwiseduly advised in the prem ises,itis

          ORD ERED ,A DJU D GED and D ECREED thatforreasons stated in open courtand on

   therecord,theCourtordersthatMotionforBail(DE 49)bedenied,andthatthePetitioner
Case 1:17-cv-23938-JLK Document 63 Entered on FLSD Docket 01/23/2019 Page 2 of 2




   remaineddetained based on risk oftlight. Petitionerhasnotm ethisburden to show thatthe

   letterfrom Colom bian Am bassadorFrancisco Santosconstitutesachanged circumstance

   warranting Petitioner'srelease.

          DONE AND ORDERED in chambersattheJam esLawrence King FederalJustice

  Building and United StatesCourthouse,M iam i,Florida,this    U dayofJanuary 2019.
                                                                 -               ,

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                                                        #'22-P M A *-*
                                           JAM ES LAW RENCE KIN G
                                           UNITED STATES DISTRICT C             T JUDGE
